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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA, STATE
OF ILLINOIS, and CITY OF CHICAGO
ex rel. ANGELO MILAZZO,
                                                      No. 17-cv-3062
                        Plaintiff-Relator,
                                                      Judge John J. Tharp, Jr.
                        v.

JOEL KENNEDY CONSTRUCTING
CORP., et al.,

                        Defendants.


        AGREED MOTION FOR EXTENSION OF ANCILLARY JURISDICTION

        Plaintiff City of Chicago (“City”), Relator Angelo Milazzo (“Relator”), and Defendants

Joel Kennedy Constructing Corp. and Joel Kennedy (“Defendants”) (collectively, “Parties”), hereby

jointly move for an extension of the Court’s ancillary jurisdiction over this action. In support, the

Parties state:

        1.       On December 29, 2022, the Parties entered into a Settlement Agreement. As part

of the Settlement Agreement, Defendants agreed to make Settlement Payments to the City in

installments over time. In the event that Defendants defaulted on a payment, Defendants agreed to

entry of a Consent Judgement for the balance of remaining Settlement Payments.

        2.       On January 3, 2023, the Parties filed a Stipulation of Dismissal, Dkt. No. 141,

stipulating that the action be dismissed without prejudice, with leave to reinstate solely for the

purposes of enforcing Settlement Agreements between the parties and/or entering the Consent

Judgement.

        3.       On January 4, 2023, Judge Tharp terminated the action and dismissed the matter
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without prejudice, except that the Court retained ancillary jurisdiction only until January 8, 2024

to enforce the parties’ Settlement Agreement or enter the Consent Judgment, Dkt. No. 142.

       4.       However, Defendants’ final Settlement Payment under the Settlement Agreement

is not due until until July 1, 2026. Moreover, the Settlement Agreement also provides Defendants

a 14-day cure period after default on a Settlement Payment before the Consent Judgment can be

entered.

       5.       Accordingly, because Defendants’ obligations under the Settlement Agreement

continue to July 2026, over two and a half years after the Court’s ancillary jurisdiction over this

action would otherwise end, the Parties respectfully request that the Court extend its ancillary

jurisdiction to enforce the Settlement Agreement and/or enter the Consent Judgment until August

1, 2026. This date would grant the City adequate time to prepare a motion to enforce the Settlement

Agreement and/or enter the Consent Judgment after the cure period for the final Settlement

Payment ends.

       WHEREFORE, the Parties respectfully jointly move this Court to extend its ancillary

jurisdiction from January 1, 2024 to to August 1, 2026.

Dated: January 5, 2023.                              Respectfully submitted,


/s/ Christina Chung___________________               _/s/ Suyash Agrawal__________________
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_/s/ Scott Rauscher_______________
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                               CERTIFICATE OF SERVICE

       I, Christina Chung, an attorney, hereby certify that on this 5th day of January, 2023, I

electronically filed the forgoing Agreed Motion for Extension of Ancillary Jurisdiction with

the Clerk of the Court using the CM/ECF system, which thereby electronically served all counsel

of record.

Dated: January 5, 2023                     Respectfully submitted,


                                           By:     s/ Christina Chung            ___

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